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                          THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


LOU M. TAYLOR, in individual,

        Plaintiff,
                                                                      Case No.: 1:19-cv-3028
v.

BRYAN S. KUCHAR, an individual,

      Defendant.
______________________________________/

                            ANSWER AND AFFIRMATIVE DEFENSES

        Defendant, BRYAN S. KUCHAR (“Defendant”), by and through undersigned counsel,

hereby files the following Answer 1 and Affirmative Defenses to Plaintiff’s, LOU M. TAYLOR

(“Plaintiff”), Complaint.

                                           GENERAL DENIALS

        a.       Defendant generally denies that Defendant is the owner of, and/or has any

association with, the domain loumtaylor.net (the “Excluded Domain”). Defendant has no

knowledge regarding use and/or intent to use the Domains 2, except as such relates to use of the

Admitted Domain.

        b.       Defendant generally denies that the Admitted Domain was designed and/or used

for improper commercial gain, to mislead Internet users, or to tarnish Plaintiff’s name and/or

Mark. The Admitted Domain was solely created for non-commercial use and with the intent to

provide news commentary, criticism, parody, and news reporting. All use of the Admitted

1
 The numbered items in the Answer correspond to the numbered items contain in Plaintiff’s Complaint. All
definitions provided in Plaintiff’s Complaint are reincorporated herein.
2
 The other Domain set forth in Plaintiff’s Complaint (www.loumtaylor.com) shall be referred to herein as the
“Admitted Domain.”
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Domain was made in accordance with fair use and/or Defendant’s rights under the First

Amendment.

        c.       Defendant generally denies that the Admitted Domain is being used for any

purpose whatsoever. The Admitted Domain has been shutdown and non-operational since June

5, 2019, which is at least one (1) month prior to Plaintiff’s filing of the Complaint.

        d.       Defendant generally denies that the Admitted Domain was used for the purpose of

harming Plaintiff, Plaintiff’s business, or any of Plaintiff’s clients.

                                       SPECIFIC DENIALS

                                         I.      The Parties

        1.       Defendant admits that Plaintiff is the CEO and founder of Tri Star Sports &

Entertainment Group. Defendant is without specific knowledge or information to form a belief as

to the truth of the remaining allegations contained in Paragraph 1 of the Complaint, and therefore

denies the same.

        2.       Defendant is without specific knowledge or information to form a belief as to the

truth of the remaining allegations contained in Paragraph 2 of the Complaint, and therefore

denies the same. Notwithstanding, Defendant admits that Exhibit 1 speaks for itself.

        3.       Defendant is without specific knowledge or information to form a belief as to the

truth of the remaining allegations contained in Paragraph 3 of the Complaint, and therefore

denies the same. Defendant further denies that Plaintiff has acquired common law trademark

rights in her name.

        4.       Defendant denies that Defendant has registered, designed and used the Excluded

Domain. Defendant admits to registration and use of the Admitted Domain. Defendant admits

that Defendant is a resident of Georgia.



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                                 II.          Jurisdiction and Venue

       5.       Defendant denies that this Court has subject matter jurisdiction over this action

pursuant to 15 U.S.C. § 1121, 1125(d) and/or that this action involves trademark law under the

Lanham Act. Defendant otherwise admits that this Court has subject matter jurisdiction over the

Complaint as pleaded.

       6.       Admitted.

                                       III.     The Controversy

       7.       Defendant admits that “Lou M. Taylor” is Plaintiff’s full personal name.

Defendant denies that the Mark is a well-established common law service mark and/or that

Defendant has established common law trademark rights in the Mark. Defendant is without

specific knowledge or information to form a belief as to the truth of the remaining allegations

contained in Paragraph 7 of the Complaint, and therefore denies the same.

       8.       Defendant admits that the Domains are identical to Plaintiff’s personal name and

the Mark; provided, Defendant denies that Defendant owned or possessed the Excluded Domain,

and therefore is only able to speak to the allegations contains in Paragraph 8 as such relates to the

Admitted Domain. Defendant denies that the Admitted Domain infringes on Plaintiff’s rights in

the “Lou M. Taylor” name or the Mark.

       9.       Defendant denies the entirety of the allegations contained Paragraph 9 of the

Complaint.

       10.      Defendant admits that Plaintiff has no relationship with Defendant. Defendant

denies that Defendant required Plaintiff’s license or authorization in order to establish the

Admitted Domain, as all use of the Admitted Domain has been done in accordance with fair use

and/or Defendant’s rights under the First Amendment.



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       11.    Admitted, to the extent Defendant admits that Defendant is not using the

Admitted Domain for any commercial use or with the intent to gain or make a profit. Defendant

does not promote, market, or offer for sale any goods or services on the Admitted Domain, as

Defendant’s use thereof is solely for the purpose to provide commentary, criticism, parody, and

news reporting.

       12.    Defendant denies the entirety of the allegations contained in Paragraph 12 of the

Complaint.

       13.    Defendant denies the entirety of the allegations contained in Paragraph 13 of the

Complaint.

       14.    Defendant admits that Defendant has registered and used the Admitted Domain.

Defendant denies registration or use of the Excluded Domain. Defendant further denies that

Defendant registered and/or used the Admitted Domain in bad faith.

       15.    Defendant denies the entirety of the allegations contained in Paragraph 15 of the

Complaint.

       16.    Defendant denies the entirety of the allegations contained in Paragraph 16 of the

Complaint.

       17.    Defendant denies the entirety of the allegations contained in Paragraph 17 of the

Complaint.

       18.    Defendant denies the entirety of the allegations contained in Paragraph 18 of the

Complaint.




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                                    COUNT I
                          CYBERSQUATTING 15 U.S.C. § 1125(d)

       19.     Defendant hereby repeats, realleges, and incorporates by reference its responses to

every allegation contained in the foregoing portions of this Answer to the Complaint with the

same force and effect as if pleaded separately herein.

       20.     Defendant admits that the Admitted Domain is identical to Plaintiff’s name and

was registered without her permission. Defendant denies that Plaintiff’s permission was required

to register the Admitted Domain and/or the registration of the Admitted Domain is likely to

cause confusion or mistake. Defendant is without specific knowledge or information to form a

belief as to the truth of the remaining allegations contained in Paragraph 20 of the Complaint as

it relates to the Excluded Domain, and therefore denies the same.

       21.     Defendant denies the entirety of the allegations contained in Paragraph 21 of the

Complaint.

       22.     Defendant denies the entirety of the allegations contained in Paragraph 22 of the

Complaint.

       23.     Defendant denies the entirety of the allegations contained in Paragraph 23 of the

Complaint.

       24.     Defendant denies the entirety of the allegations contained in Paragraph 24 of the

Complaint.

                                       COUNT II
                               CYBERPIRACY 15 U.S.C. § 8131

       25.     Defendant hereby repeats, realleges, and incorporates by reference its responses to

every allegation contained in the foregoing portions of this Answer to the Complaint with the

same force and effect as if pleaded separately herein.



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       26.     Defendant admits that the Admitted Domain is identical to Plaintiff’s name and

was registered without her permission. Defendant denies that Plaintiff’s permission was required

to register the Admitted Domain. Defendant is without specific knowledge or information to

form a belief as to the truth of the remaining allegations contained in Paragraph 26 of the

Complaint, and therefore denies the same.

       27.     Defendant denies the entirety of the allegations contained in Paragraph 27 of the

Complaint.

       28.     Defendant denies the entirety of the allegations contained in Paragraph 28 of the

Complaint.

       29.     Defendant denies the entirety of the allegations contained in Paragraph 29 of the

Complaint.

       30.     Defendant denies the entirety of the allegations contained Paragraph 30 of the

Complaint.

                               COUNT III
         VIOLATION OF GEORGIA’s DECEPTIVE TRADE PRACTICES ACT
                           O.C.G.A. §10-1.372

       31.     Defendant hereby repeats, realleges, and incorporates by reference its responses to

every allegation contained in the foregoing portions of this Answer to the Complaint with the

same force and effect as if pleaded separately herein.

       32.     Defendant is without specific knowledge or information to form a belief as to the

truth of the remaining allegations contained in Paragraph 32 of the Complaint, and therefore

denies the same.

       33.     Defendant denies the entirety of the allegations contained Paragraph 33 of the

Complaint.



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       34.      Defendant denies the entirety of the allegations contained in Paragraph 34 of the

Complaint.

       35.      Defendant denies the entirety of the allegations contained in Paragraph 35 of the

Complaint.

       36.      Defendant denies the entirety of the allegations contained Paragraph 36 of the

Complaint.

                                      COUNT IV
                               DEFAMATION – LIBEL PER SE

       37.      Defendant hereby repeats, realleges, and incorporates by reference its responses to

every allegation contained in the foregoing portions of this Answer to the Complaint with the

same force and effect as if pleaded separately herein.

       38.      Defendant denies the entirety of the allegations contained in Paragraph 38 of the

Complaint.

       39.      Defendant denies the entirety of the allegations contained in Paragraph 39 of the

Complaint.

       40.      Defendant denies the entirety of the allegations contained in Paragraph 40 of the

Complaint.

       41.      Defendant denies the entirety of the allegations contained in Paragraph 41 of the

Complaint.

                                 COUNT V
             TARNISHMENT/DILUTION IN VIOLATION OF 15 U.S.C. § 1125(c)

       42.      Defendant hereby repeats, realleges, and incorporates by reference its responses to

every allegation contained in the foregoing portions of this Answer to the Complaint with the

same force and effect as if pleaded separately herein.



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       43.     Defendant denies the entirety of the allegations contained in Paragraph 43 of the

Complaint.

       44.     Defendant is without specific knowledge or information to form a belief as to the

truth of the remaining allegations contained in Paragraph 44 of the Complaint, and therefore

denies the same.

       45.     Defendant denies the entirety of the allegations contained in Paragraph 45 of the

Complaint.

       46.     Defendant denies the entirety of the allegations contained in Paragraph 46 of the

Complaint.

       47.     Defendant denies the entirety of the allegations contained in Paragraph 47 of the

Complaint.

       48.     Defendant denies the entirety of the allegations contained in Paragraph 48 of the

Complaint.

       49.     Defendant denies the entirety of the allegations contained in Paragraph 49 of the

Complaint.

                                COUNT VI
             TARNISHMENT/DILUTION VIOLATION OF O.C.G.A. § 10-1-451

       50.     Defendant hereby repeats, realleges, and incorporates by reference its responses to

every allegation contained in the foregoing portions of this Answer to the Complaint with the

same force and effect as if pleaded separately herein.

       51.     Defendant denies the entirety of the allegations contained in Paragraph 51 of the

Complaint.

       52.     Defendant denies the entirety of the allegations contained in Paragraph 52 of the

Complaint.

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       53.     Defendant denies the entirety of the allegations contained in Paragraph 53 of the

Complaint.

       54.     Defendant denies the entirety of the allegations contained in Paragraph 54 of the

Complaint.

       55.     Defendant denies the entirety of the allegations contained in Paragraph 55 of the

Complaint.

       56.     Defendant denies the entirety of the allegations contained in Paragraph 56 of the

Complaint.

       57.     Defendant denies the entirety of the allegations contained in Paragraph 57 of the

Complaint.

                                        COUNT VII
                                      ATTORNEY FEES

       58.     Defendant hereby repeats, realleges, and incorporates by reference its responses to

every allegation contained in the foregoing portions of this Answer to the Complaint with the

same force and effect as if pleaded separately herein.

       59.     Defendant denies the entirety of the allegations contained in Paragraph 59 of the

Complaint.

       60.     Defendant denies the entirety of the allegations contained in Paragraph 60 of the

Complaint.

Answer to Plaintiff’s Prayer for Relief: Defendant denies that Plaintiff is entitled to any

judgment or relief requested in the “WHEREFORE” prayer for judgment section in Plaintiff’s

Complaint (See D.E. 1, pg. 13-14). To the extent that any statement in said prayer for judgment

section to Plaintiffs’ Complaint might be deemed factual, Defendant denies same.




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                                  DEMAND FOR JURY TRIAL

        Defendant, BRYAN KUCHAR, demands a trial by jury for all issues so triable.

                                  AFFIRMATIVE DEFENSES

        First Affirmative Defense: Failure to Establish Common Law Trademark Rights

        1.     The Complaint alleges that Plaintiff is the owner of the Mark, defined as “Lou M.

Taylor.” However, Plaintiff has not established, nor is Plaintiff able to establish, that Plaintiff has

acquired any common law trademark rights and/or used the term “Lou M. Taylor” in a manner

equal to use in commerce. Plaintiff’s Complaint alleges “the Mark has been used continuously

and extensively used in commerce by Taylor in connection with the business management

services that she has provided to the sports and entertainment industries for nearly three

decades.” (see D.E. 1, ¶ 7). However, this purported use is without merit and Plaintiff is unable

to show to trademark usage (i.e. use in commerce). Plaintiff’s business management services are

provided under the name, Tri Star Sports & Entertainment Group, which “is in the business of

providing business management services to participants in the sports and entertainment

industries.” (see D.E. 1, ¶ 1). Thus, while Plaintiff may have established common law trademark

rights in and to “Tri Star Sports & Entertainment Group,” Plaintiff has not done so under the

Mark.

                    Second Affirmative Defense: No Likelihood of Confusion

        2.     Even if Plaintiff has established common law trademark rights in the Mark, there

exists no likelihood of confusion between the Mark and Defendant’s use of the Admitted

Domain. Defendant has not used the Domain for commercial purposes, nor does Defendant

provide any services identical or substantially similar to those purportedly provided under the

Mark. In fact, Defendant does not offer, sell, or market any goods or services on the Admitted



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Domain. As a result, there is no likelihood that consumers may be confused or mistakes as to the

provider of the Admitted Domain.

                              Third Affirmative Defense: Fair Use

       3.      Defendant’s sole purpose and intent of registering the Admitted Domain was to

provide a source of commentary, criticism, parody, and news reporting. At no point in time has

the Admitted Domain been used for commercial use, nor has Defendant sought or obtained a

profit or monetary gain from registration of the Admitted Domain.

                        Fourth Affirmative Defense: Lack of Ownership

       4.      Defendant is not the registered owner, nor does Defendant have access to or any

knowledge regarding the ownership, of the Excluded Domain.

                          Fifth Affirmative Defense: First Amendment

       5.      Defendant’s registration and non-commercial use of the Admitted Domain is

protected under the First Amendment.

                 Sixth Affirmative Defense: Failure to State a Claim For Relief

       6.      Plaintiff fails to state a claim for a relief for reach of the causes of action set forth

in the Complaint. Specifically:

            a. Count I alleges Defendant has committed a violation of 15 U.S.C. §1125(d)

               (Cybersquatting). 15 U.S.C. § 1125(d) states, in pertinent part, “A person shall be

               liable in a civil action by the owner of a mark, including a personal name which is

               protected as a mark under this section, if, without regard to the goods or services

               of the parties, that person (i) has a bad faith intent to profit from that mark,

               including a personal name which is protected as a mark under this section.”

               (emphasis added). Defendant has not made any commercial use of the Admitted



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    Domain, nor was the Admitted Domain registered with bad faith intent to profit

    from the creation thereof. As such, Plaintiff is unable to prove a necessary

    element for the purpose of seeking relief under Count I of the Complaint.

 b. Count II alleges Defendant has committed a violation of 15 U.S.C. § 8131

    (Cyberpiracy). 15 U.S.C. § 8131(a) states “Any person who registers a domain

    name that consists of the name of another living person, or a name substantially

    and confusingly similar thereto, without that person’s consent, with the specific

    intent to profit from such name by selling the domain name for financial gain

    to that person or any third party, shall be liable in a civil action by such

    person.” (emphasis added). Defendant did not register the Admitted Domain with

    the specific intent to profit or obtain financial gain. The Admitted Domain was

    created in accordance with fair use and for the sole purpose to provide

    commentary, criticism, and news. As such, Plaintiff is unable to prove a necessary

    element for the purpose of seeking relief under Count II of the Complaint.

 c. Count III alleges Defendant has committed a violation of Georgia’s Deceptive

    Trade Practices Act (UDTPA). The UDTPA protects trade names when another

    person's use of a similar name “causes likelihood of confusion or of

    misunderstanding as to the source, sponsorship, approval, or certification of goods

    or services.” See O.C.G.A. §10-1-372(a)(2). Plaintiff’s purported Mark does not

    qualify for protection under the UDTPA, because Plaintiff does not use such

    Mark in commerce (i.e. for the providing of goods and services). Furthermore,

    even if such Mark qualified for protections, there is no likelihood of confusion

    between the Mark and Defendant’s use of the Admitted Domain, because no



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    reasonable consumer would be confused or mistaken into believing that Plaintiff

    is the source of the Admitted Domain. Moreover, Plaintiff alleges Defendant’s

    violation is predicated upon seeking commercial gain and/or furthering illegal

    business activities to misattribute the Admitted Domain to Plaintiff. See D.E. 1, ¶

    33. However, Defendant has never sought or obtained commercial gain from the

    registration of the Domain Name, nor has Defendant used the Admitted Domain

    for any business activity, as the Admitted Domain was solely used for

    commentary, criticism, news reporting, and parody purposes. As such, Plaintiff is

    unable to prove a necessary element for the purpose of seeking relief under Count

    III of the Complaint.

 d. Count IV alleges Defendant has committed an act of libel per se. According to

    Georgia law, libel per se “consists in: (1) Imputing to another a crime punishable

    by law; (2) Charging a person with having some contagious disorder or with

    being guilty of some debasing act which may exclude him from society; (3)

    Making charges against another in reference to his trade, office, or profession,

    calculated to injure him therein.” See OCGA § 51–5–4(a); Hayes v. Irwin, 541 F.

    Supp. 397, 431 n.34 (N.D.Ga.1982). The alleged statements contained the

    Complaint (see D.E. 1, ¶ 39) do not amount to libel per se, nor does the

    Complaint allege that such statements have been accessed by any third party. As

    such, Plaintiff is unable to prove a necessary element for the purpose of seeking

    relief under Count IV of the Complaint.

 e. Count V alleges Defendant has committed a violation of 15 U.S.C. § 1125(c)

    (Tarnishment / Dilution). Plaintiff’s purported Mark does not qualify for



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    protection as a famous mark as defined under the statute. Notwithstanding, even if

    Plaintiff’s Mark qualified thereunder, Defendant’s registration of the Admitted

    Domain falls under the exclusions set forth in 15 U.S.C. § 1125(c), which states

    the following are not actionable as tarnishment/dilution: (a) fair use in connection

    with, inter alia, identifying and parodying, criticizing, or commenting upon the

    famous mark owner or the goods or services of the famous mark owner; (b) all

    forms of news reporting and news commentary; or (c) any noncommercial use of

    the mark. As Defendant’s registration and use of the Admitted Domain falls under

    such exclusion, Plaintiff is unable to prove a necessary element for the purpose of

    seeking relief under Count V of the Complaint.

 f. Count VI alleges Defendant has committed a violation of O.C.G.A. § 10-1-451.

    “Dilution ‘occurs [under the statute] where the use of the trademark by the

    subsequent user will lessen the uniqueness of the prior user's mark with the

    possible future result that a strong mark may become a weak mark.’” Reinalt-

    Thomas Corp. v. Mavis Tire Supply, LLC, No. 1:18-CV-5877-TCB, 2019 WL

    4023594, at *14 (N.D. Ga. July 10, 2019).         Defendant’s registration of the

    Admitted Domain does not lessen the uniqueness of Plaintiff’s purported Mark,

    as: (i) Plaintiff does not provide services under the Mark, but actually under

    Plaintiff’s company, Tri Star Sports & Entertainment Group; and (ii) even if it is

    determined that Plaintiff actually provides services under the Mark, Defendant’s

    use of the Admitted Domain in connection with, inter alia, (a) identifying and

    parodying, criticizing, or commenting upon the Mark owner or the goods or

    services of the Mark; (b) all forms of news reporting and news commentary; and



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              (c) any noncommercial does not amount to dilution or the creation of any

              likelihood of confusion amongst the consuming public. As a result, Plaintiff is

              unable to prove a necessary element for the purpose of seeking relief under Count

              VI of the Complaint.

          g. Count VII seeks attorney’s fees pursuant to O.C.G.A. § 13-6-11. Defendant has

              not acted in bad faith, been stubbornly litigious, or caused Plaintiff unnecessary

              trouble or expense. Defendant’s use of the Admitted Domain was made in good

              faith and in accordance with Defendant’s statutory and common law rights.

              Furthermore, Defendant has repeatedly tried to resolve this matter in good faith

              prior to the initiation of litigation. As a result, Plaintiff has not set forth a claim

              for attorney’s fees pursuant to Count VII of the Complaint.

                          Seventh Affirmative Defense: Good Faith

7. Even if Plaintiff has established common law trademark rights in the Mark, Defendant has

   acted in good faith at all times, and without malice or knowledge of any violation relating to

   Defendant’s use of the Admitted Domain.



August 30, 2019                                      Respectfully submitted.

                                                     /s/ John M. Phillips
                                                     PHILLIPS & HUNT
                                                     John M. Phillips, B.C.S.**
                                                     Georgia Bar Number: 576347
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                                                     Attorneys for Defendant

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                                         By:
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                                                Darren@heitnerlegal.com

                                                By: /s/ Alan Wilmot
                                                Alan Wilmot
                                                (Fla. Bar No. 117840)

                                                Attorneys for Defendant

                              CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a true and correct copy of the foregoing was served via the
CM/ECF to the following on this 30th day of August 2019:

STOKES WAGNER, A.L.C.
One Atlantic Center, Suite 2400
1201 West Peachtree Street, N.W.
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                                         By: /s/ John Phillips________________




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